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IN THE UNITED STATES DISTRICT COURT < w \ 8 10's Ss
FOR THE DISTRICT OF PUERTO RICO a a
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2. SR e:
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UNITED STATES OF AMERICA oe Sas 7 a"

Plaintiff

y CASE NO. 17-622 (FAB)

[100] FELIX J. ORTIZ
a/k/a “Kalkri”

a/k/a “Kenobi”
Defendant

 

 

 

PLEA AND FORFEITURE AGREEMENT
(Pursuant to Fed. R. Crim. P. 11(c)(1)(B))

TO THE HONORABLE COURT:

COMES NOW, the United States of America, by and through its attorneys for the District
of Puerto Rico: W. Stephen Muldrow, United States Attorney; Myriam Y. Fernandez-Gonzalez,
Assistant United States Attorney and Chief, Criminal Division; Alberto R. Lépez-Rocafort,
Assistant United States Attorney, Deputy Chief of the Gang Unit; and Maria L. Montafiez-
Concepcion, Assistant United States Attorney, along with Defendant, Felix J. Ortiz and his counsel
José G. Pérez-Ortiz, and pursuant to Fed. R. Crim. P. 11(c)(1)(B), state to this Honorable Court
that they have reached a Plea Agreement, the terms and conditions of which are as follows:

1. COUNTS TO WHICH DEFENDANT PLEADS GUILTY

Defendant agrees to plead guilty to Count One of the Indictment.

Count One of the Indictment charges, in sum and substance, that beginning on a date unknown,
but no later than in or about the year 2010, and continuing up to and until the return of the instant

Indictment, in the District of Puerto Rico and within the jurisdiction of this Court, the defendant
 

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Plea and Forfeiture Agreement

[100] Felix J. Ortiz, did knowingly and intentionally, combine, conspire and agree with diverse
other persons known and unknown to the Grand Jury, to commit an offense against the United
States, that is, to knowingly and intentionally possess with intent to distribute and to distribute
controlled substances, to wit: in excess of two hundred and eighty (280) grams of a mixture or
substance containing a detectable amount of cocaine base (crack), a Schedule II] Narcotic Drug
Controlled Substance; in excess of one (1) kilogram of a mixture or substance containing a
detectable amount of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five
(5) kilograms of a mixture or substance containing a detectable amount of cocaine, a Schedule II,
Narcotic Drug Controlled Substance; in excess of one hundred (100) kilograms of a mixture or
substance containing a detectable amount of marijuana, a Schedule I, Controlled Substance; within
one thousand (1,000) feet of a real property comprising housing facilities owned by a public
housing authority, to wit: Virgilio Davila Public Housing Project, Rafael Falin Torrech Public
Housing Project, Brisas de Bayamon Public Housing Project, Jardines de Caparra Public Housing
Project, La Gardenias Public Housing Project, La Alambra Public Housing Project, Jose Celso
Barbosa Public Housing Project, Los Jeannie Public Housing Project, Alegria Norte Public
Housing Project, Jardines de Catafio Public Housing Project, Sierra Linda Public Housing Project,
Los Laureles Public Housing Project, Los Dominicos Public Housing Project, Villa Olga Ward,
Rio Plantation Ward and El Polvorin Ward and other areas nearby, within the Municipalities of
Bayamon, Toa Baja, Catafio, Naranjito, Comerio and Corozal, Puerto Rico, in violation of 21

U.S.C. § 841(a)(1). All in violation of 21 U.S.C. §§ 846 and 860.
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2. MAXIMUM PENALTIES

The defendant understands that the penalty for the offense charged in COUNT ONE of the
Indictment is: a term of imprisonment which shall not be less than 10 years and up to 2 terms of
life in prison; a fine not to exceed $20,000,000.00; and a term of supervised release of not less
than 10 years, in addition to any term of incarceration, pursuant to 21 U.S.C. §§841(b)(1)(A), 846,

and 860.

However, based on the stipulated and agreed amount of narcotics possessed by the defendant,
that is, at least 2KG but less than 3.5KG of cocaine, the defendant faces a minimum term of
imprisonment of 5 years up to a maximum term of 80 years, a fine not to exceed $10,000,000.00,
and a term of supervised release of at least 8 years in addition to any term of incarceration, pursuant
to 21 U.S.C. §§841(b)(1)(B), 846, and 860.

3. SENTENCING GUIDELINES APPLICABILITY

Defendant understands that the sentence will be left entirely to the sound discretion of the
Court in accordance with 18 U.S.C. §§3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which have been rendered advisory by the United States Supreme
Court decision in the consolidated cases United States v. Booker and United States v. Fanfan, 543
U.S. 220 (2005). Furthermore, Defendant acknowledges that parole has been abolished and that

the imposition of his sentence may not be suspended.
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4, SPECIAL MONETARY ASSESSMENT

Defendant agrees to pay a special monetary assessment of one hundred dollars ($100.00), per
count of conviction, to be deposited in the Crime Victim Fund, pursuant to 18 U.S.C.
§3013(a)(2)(A).

5. FINES AND/OR RESTITUTION

Defendant is aware that the Court may, pursuant to USSG §5E1.2, order him to pay a fine.

6. RULE 11(c)(1)(B) WARNINGS

Defendant is aware that his sentence is within the sound discretion of the sentencing judge and
of the advisory nature of the Guidelines, including the Guidelines Policy Statements, Application
and Background Notes. Furthermore, the Defendant understands and acknowledges that the Court
is not a party to this Plea and Forfeiture Agreement and thus, is not bound by this agreement or the
sentencing calculations and recommendations contained. The Defendant specifically
acknowledges that the Court has jurisdiction and authority to impose any sentence within the
statutory maximum set for the offense to which Defendant is pleading guilty. Defendant is aware
that the Court may accept or reject the Plea and Forfeiture Agreement, or may defer its decision
whether to accept or reject the Plea and Forfeiture Agreement until it has considered the pre-
sentence investigation report. See Fed. R. Crim. P. 11(c)(3)(A). Should the Court impose a
sentence up to the maximum established by statute, Defendant cannot, for that reason alone,
withdraw his guilty plea, and will remain bound to fulfill all of the obligations under this Plea and

Forfeiture Agreement. See Fed. R. Crim. P. 11(c)(3)(B).
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Te APPLICABILITY OF UNITED STATES SENTENCING GUIDELINES

 

SENTENCING GUIDELINES CALCULATION TABLE
AS TO COUNT ONE OF THE INDICTMENT

 

Based on the amount of controlled substance stipulated by the parties, that is at 26
least 2 KG but less than 3.5 KG of cocaine, the Base Offense Level shall be 26,
pursuant to the Drug Quantity Table in U.S.S.G. § 2D1.1.

 

Protected Location [U.S.S.G. § 2D1.2(a)(1)] +2

 

Should defendant clearly demonstrate acceptance of responsibility for the offense, -3
defendant’s base offense level shall be further reduced by three (3) levels, pursuant
to U.5.5.G.-§ 3E1.1,

 

 

 

 

TOTAL OFFENSE LEVEL 25
Assuming a Criminal History Category of I, (57-71)
Assuming a Criminal History Category of II, (63-78)
Assuming a Criminal History Category of III, (70-87)
Assuming a Criminal History Category of IV, (84-105)
Assuming a Criminal History Category of V, (100-125)
Assuming a Criminal History Category of VI, (110-137)

 

8. NO STIPULATION AS TO CRIMINAL HISTORY CATEGORY
The parties do not stipulate as to any Criminal History Category for Defendant.
\ IS > 9. SENTENCE RECOMMENDATION
After due consideration of the relevant factors enumerated in 18 U.S.C. §3553(a), the

wv parties agree to recommend a sentence of imprisonment of 60 months.
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‘f 10. WAIVER OF APPEAL

Defendant knowingly and voluntarily agrees that, if the imprisonment sentence imposed

by the Court is 71 months or less, the defendant waives the right to appeal any aspect of this case’s
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Plea and Forfeiture Agreement
judgment and sentence, including but not limited to the term of imprisonment or probation,
restitution, fines, forfeiture, and the term and conditions of supervised release.
11. NO FURTHER ADJUSTMENTS OR DEPARTURES
The United States and Defendant agree that no further adjustments or departures to
Defendant’s total adjusted base offense level and no variance sentence under 18 U.S.C. § 3553
shall be sought by Defendant. The parties agree that any request by Defendant for an adjustment
or departure will be considered a material breach of this Plea and Forfeiture Agreement, and the
United States will be free to ask for any sentence, either guideline or statutory.
12. SATISFACTION WITH COUNSEL
Defendant represents to the Court that he is satisfied with counsel Jose G. Perez-Ortiz and
asserts that counsel has rendered effective legal assistance.
13. RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA
Defendant understands that by entering into this Plea and Forfeiture Agreement he surrenders
certain rights as provided in this agreement. Defendant understands that the rights of criminal
Defendants include the following:
a. If Defendant had persisted in a plea of not guilty to the charges, Defendant would
have had the right to a speedy jury trial with the assistance of counsel. The trial may

| be conducted by a judge sitting without a jury if Defendant, the United States and
the judge agree.

 

b. If a jury trial is conducted, the jury would be composed of twelve lay persons
selected at random. Defendant and Defendant’s attorneys would assist in selecting
the jurors by removing prospective jurors for cause where actual bias or other
disqualification is shown, or by removing prospective jurors without cause by
exercising peremptory challenges. The jury would have to agree, unanimously,
before it could return a verdict of either guilty or not guilty. The jury would be
instructed that Defendant is presumed innocent, that it could not convict Defendant

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Plea and Forfeiture Agreement

unless, after hearing all the evidence, it was persuaded of Defendant’s guilt beyond
a reasonable doubt, and that it was to consider each charge separately.

c. Ifa trial is held by the judge without a jury, the judge would find the facts and, after
hearing all the evidence and considering each count separately, determine whether
or not the evidence established Defendant’s guilt beyond a reasonable doubt.

d. Ata trial, the United States would be required to present its witnesses and other
evidence against Defendant. Defendant would be able to confront those witnesses
and Defendant’s attorney would be able to cross-examine them. In turn, Defendant
could present witnesses and other evidence on Defendant’s own behalf. If the
witnesses for Defendant would not appear voluntarily, Defendant could require
their attendance through the subpoena power of the Court.

e. Atatrial, Defendant could rely on the privilege against self-incrimination to decline
to testify, and no inference of guilt could be drawn from Defendant’s refusal to
testify. If Defendant desired to do so, Defendant could testify on Defendant’s own
behalf.

14. STIPULATION OF FACTS

The accompanying Stipulation of Facts signed by Defendant is hereby incorporated into this
Plea and Forfeiture Agreement. Defendant adopts the Stipulation of Facts and agrees that the facts
therein are accurate in every respect and, had the matter proceeded to trial, that the United States
would have proven those facts beyond a reasonable doubt.

15. FORFEITURE AGREEMENT

Pursuant to this Plea Agreement, the defendant agrees to forfeit to the United States any drug

proceeds or substitute assets for that amount, which constitutes or is derived from proceeds

 

generated or traceable to the drug trafficking offense in violation of 21 U.S.C. §§841, 846 and 860.
Further, defendant shall forfeit to the United States any property constituting, or derived from,
proceeds obtained, directly or indirectly, as a result of said violations and any property used, or

intended to be used, in any manner or part, to commit, or to facilitate the commission of the said

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Plea and Forfeiture Agreement

violations up to the amount stated above. The defendant agrees to identify all assets over which
the defendant exercises or exercised control, directly or indirectly, within the past three years, or
in which the defendant has or had during that time any financial interest. The defendant agrees to
take all steps as requested by the United States to obtain from any other parties by any lawful
means any records of assets owned at any time by the defendant. Defendant agrees to forfeit to the
United States all of the defendant's interests in any asset of a value of more than $1,000 that, within
the last three years, the defendant owned, or in which the defendant maintained an interest, the
ownership of which the defendant fails to disclose to the United States in accordance with this

agreement.

The defendant further agrees to waive all interest in any such asset in any administrative or
judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to
consent to the entry of orders of forfeiture for such property and waives the requirements of Federal
Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the
judgment. Defendant acknowledges that he understands that the forfeiture of assets is part of the
sentence that may be imposed in this case and waives any failure by the court to advise him of this,

pursuant to Rule 11(b)(1)(J), at the time his guilty plea is accepted.

The defendant further agrees to waive all statutory challenges in any manner (including direct
appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with this
Plea Agreement on any grounds, including that the forfeiture constitutes an excessive fine or

punishment. The defendant agrees to take all steps as requested by the United States to pass clear
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Plea and Forfeiture Agreement

title to forfeitable assets to the United States, and to testify truthfully in any judicial forfeiture
proceeding. Defendant acknowledges that all property covered by this agreement is subject to
forfeiture as proceeds of illegal conduct, giving rise to forfeiture and/or substitute assets for

property otherwise subject to forfeiture.

Defendant by agreeing to the forfeiture stated above, acknowledges that such forfeiture in not

grossly disproportional to the gravity of the offense conduct to which defendant 1s pleading guilty.

Defendant agrees that the forfeiture provisions of this plea agreement are intended to, and will,
survive him, notwithstanding the abatement of any underlying criminal conviction after the
execution of this agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if Defendant had survived, and that determination shall be
binding upon Defendant’s heirs, successors and assigns until the agreed forfeiture, including any
agreed money judgment amount, is collected in full.

16. LIMITATIONS OF PLEA AND FORFEITURE AGREEMENT

This Plea and Forfeiture Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico and Defendant. It does not bind any other federal district, state, or local
authorities.

17. ENTIRETY OF PLEA AND FORFEITURE AGREEMENT

This written agreement constitutes the complete Plea and Forfeiture Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no promises or
representations except as set forth in writing in this Plea and Forfeiture Agreement and deny the

existence of any other term and conditions not stated herein.
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Plea and Forfeiture Agreement

18. AMENDMENTS TO PLEA AND FORFEITURE AGREEMENT

No other promises, terms or conditions will be entered unless in writing and signed by all
parties.

19. VOLUNTARINESS OF GUILTY PLEA

Defendant acknowledges that no threats have been made against him and that he is pleading
guilty freely and voluntarily because he is guilty.

20. DISMISSAL OF PENDING COUNTS IN THE INDICTMENT

After sentencing, the United States of America will move to dismiss the pending counts of
Indictment, if the defendant is sentenced pursuant to the terms, conditions and recommendations

of the Plea Agreement.

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Plea and Forfeiture Agreement

21. BREACH AND WAIVER

The defendant understands and agrees that if the defendant breaches the plea agreement, the
defendant may be prosecuted and sentenced for all of the offenses the defendant may have
committed. The defendant agrees that if the defendant breaches this plea agreement, the
Government reserves the right to take whatever steps are necessary to nullify the plea agreement,
including the filing of a motion to withdraw from the plea agreement and/or to set aside the
conviction and sentence. The defendant also agrees that if he is in breach of this plea agreement,
the defendant is deemed to have waived any objection to the reinstatement of any charges under
the indictment, information, or complaint which may have previously been dismissed or which

may have not been previously prosecuted.

W. STEPHEN MULDROW
United States Attorney

veaWZ,

{ He. Perez-Ortiz
i t Ses ‘ Counsel for Defendant
Chief, Criminal Division Dated:
Dated: |l- IS°*14 s
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Alberto R. Lopez-Rocafort Feli< J/Ontiz
Assistant United States Attorney Defendant /
Deputy Chief, Gang Unit Dated: | ‘Q [

 

Dated: 4+ /1y¥ Lae

Narnia @.Abries - (Sacyabe

Maria L. Montafiez-Goncepcion |
Assistant United States Attorney

Dated: Norby. K-94

 
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Plea and Forfeiture Agreement

UNDERSTANDING OF RIGHTS
I have consulted with my counsel and fully understand all of my rights with respect to the
Indictment pending against me. Further, | have consulted with my attorney and fully understand
my rights with respect to the provisions of the Sentencing Guidelines, Policy Statements,

Application, and Background Notes which may apply in my case. | have read this Plea and

 

Forfeiture Agreement and carefully reviewed every part of it with my attorney. My counsel has
translated the plea agreement to me in the Spanish language and I have no doubts as to the contents
of the agreement. I fully understand this agreement and voluntarily agree to it.

Date: // / hry Lp ile.
Felix J7Ortiz

Defendant
I am the attorney for Defendant. I have fully explained Defendant’s rights to Defendant with

respect to the pending Indictment. Further, I have reviewed the provisions of the Sentencing
Guidelines, Policy Statements, Application, and Background Notes, and I have fully explained to
Defendant the provisions of those guidelines which may apply in this case. I have carefully
reviewed every part of this Plea and Forfeiture Agreement with Defendant. I have translated the
plea agreement and explained it in the Spanish language to the defendant who has expressed having
no doubts as to the contents of the agreement. To my knowledge, Defendant is entering into this
Plea and Forfeiture Agreement voluntarily, intelligently, and with full knowledge of all
consequences of Defendant’s plea of guilty. (7D
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psd eee Perez-Ortiz  %

Deéfénse counsel
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Plea and Forfeiture Agreement

STIPULATION OF FACTS
In conjunction with the submission of the accompanying Plea Agreement in this case, the
United States submits the following summary setting forth the version of the facts leading to
defendant's acceptance of criminal responsibility for violating 21 U.S.C. §§841(a)(1), (b)(1)(A),
846, 860 and 2.

Beginning on a date unknown, but no later than in or about the year 2010, and continuing up
to and until the return of the instant Indictment, in the District of Puerto Rico and within the
jurisdiction of this Court, the defendant herein, did knowingly and intentionally, combine, conspire
and agree with diverse other persons known and unknown to the Grand Jury, to commit an offense
against the United States, that is, to knowingly and intentionally possess with intent to distribute
and to distribute controlled substances, to wit: in excess of two hundred and eighty (280) grams of
a mixture or substance containing a detectable amount of cocaine base (crack), a Schedule II
Narcotic Drug Controlled Substance; in excess of one (1) kilogram of a mixture or substance
containing a detectable amount of heroin, a Schedule I, Narcotic Drug Controlled Substance; in
excess of five (5) kilograms of a mixture or substance containing a detectable amount of cocaine,
a Schedule II, Narcotic Drug Controlled Substance; in excess of one hundred (100) kilograms of
a mixture or substance containing a detectable amount of marijuana, a Schedule |, Controlled
Substance; within one thousand (1,000) feet of a real property comprising housing facilities owned
by a public housing authority, to wit: Virgilio Davila Public Housing Project, Rafael Falin Torrech
Public Housing Project, Brisas de Bayamon Public Housing Project, Jardines de Caparra Public
Housing Project, La Gardenias Public Housing Project, La Alambra Public Housing Project, Jose
Celso Barbosa Public Housing Project, Los Jeannie Public Housing Project, Alegria Norte Public

Housing Project, Jardines de Catafio Public Housing Project, Sierra Linda Public Housing Project,

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Los Laureles Public Housing Project, Los Dominicos Public Housing Project, Villa Olga Ward,
Rio Plantation Ward and El Polvorin Ward and other areas nearby, within the Municipalities of
Bayamon, Toa Baja, Catafio, Naranjito, Comerio and Corozal, Puerto Rico, in violation of 21
U.S.C. § 841(a)(1). All in violation of 21 U.S.C. §§846 and 860.

The object of the conspiracy was to distribute controlled substances at the Virgilio Davila
Public Housing Project, Rafael Falin Torrech Public Housing Project, Brisas de Bayamon Public
Housing Project, Jardines de Caparra Public Housing Project, La Gardenias Public Housing
Project, La Alambra Public Housing Project, Jose Celso Barbosa Public Housing Project, Los
Jeannie Public Housing Project, Alegria Norte Public Housing Project, Jardines de Catafio Public
Housing Project, Sierra Linda Public Housing Project, Los Laureles Public Housing Project, Los
Dominicos Public Housing Project, Villa Olga Ward, Rio Plantation Ward and El Polvorin Ward
and other areas nearby, within the Municipalities of Bayamon, Toa Baja, Catafio, Naranjito,
Comerio and Corozal, Puerto Rico, all for significant financial gain and profit. Defendant [100]
Felix J. Ortiz, acted as a seller for the drug trafficking organization. As a seller, the defendant
would sell street quantity amounts of cocaine and marijuana. While multiple kilograms of heroin,
cocaine, cocaine base and marijuana were distributed during the conspiracy, for the sole purpose
of this plea agreement, the defendant acknowledges that during the span of the conspiracy he
possessed with intent to distribute at least 2KG but less than 3.5 KG of cocaine.

At trial, the United States would have proven beyond a reasonable doubt that defendant [100]
Felix J. Ortiz, is guilty as charged in COUNT ONE of the Indictment by presenting physical and
documentary evidence, photographs, audio and video recordings, testimony of a forensic chemist
as an expert witness, cooperating witnesses, as well as the testimony of law enforcement agents

among others.
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Plea and Forfeiture Agreement

Discovery was timely made available to Defendant for review.

 

Mania 6 N0ucfhie2 -Buopy
Maria L. Montafiez-Concepcién

Assistant United States Attorney
LO/7

Dated: Ni

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s G. Perez-Ortiz

el for Defendant
oe
fe E Ortiz

Defendant
Dated: ULt9) / G
